
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-1822

                               CUMBERLAND FARMS, INC.,

                                      Appellant,

                                          v.

              MONTAGUE ECONOMIC DEVELOPMENT AND INDUSTRIAL CORPORATION,

                                      Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Stahl,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            W. Mark  Russo  with whom  David A.  Wollin and  Adler, Pollock  &amp;
            ______________             ________________      _________________
        Sheehan Incorporated were on brief for appellant.
        ____________________
            Debra L.  Purrington with whom Morse,  Sacks &amp; Fenton, Martine  B.
            ____________________           ______________________  ___________
        Reed, and Brown, Hart, Reed &amp; Kaplan were on brief for appellee.
        ____      __________________________


                                 ____________________

                                    March 12, 1996
                                 ____________________























                      STAHL, Circuit Judge.   On September 21,  1990, the
                      STAHL, Circuit Judge.
                             _____________

            Montague   Economic   Development    Industrial   Corporation

            ("MEDIC"), after reaching impasse in negotiations to purchase

            from  Cumberland  Farms,  Inc. ("Cumberland")  a  convenience

            store  in Turner's Falls, Massachusetts, took the property by

            eminent domain.  That same day, pursuant to Mass. Gen. L. ch.

            79,   1,  the  order of taking was recorded, and as a result,

            Cumberland's  ownership   rights   in   the   property   were

            extinguished.  Mass. Gen. L. ch. 79,   3.

                      Cumberland,  the owner  of hundreds  of convenience

            stores  in   various  states,  objected   to  MEDIC's  taking

            decision.      Cumberland's   legal   maneuvering,  and   its

            bankruptcy, converted what  began as a simple  eminent domain

            case into a six-year litigious war.

                      We  summarize   briefly.     Initially,  Cumberland

            demanded  pro tanto compensation  for the property,  but when

            MEDIC  obliged,  Cumberland  rejected  its  offer  and  chose

            instead  to contest the taking.  Cumberland initiated various

            state  and federal court  actions, all designed  to frustrate

            the taking and to deny  MEDIC possession.  Eventually, in May

            of 1992, while still in possession of the contested property,

            the Cumberland chain filed  for protection and reorganization

            under  Chapter 11  of  the  Bankruptcy  Code,  which  further

            delayed  MEDIC's gaining possession.   Suffice it to say that

            none  of Cumberland's delaying actions had merit, and finally



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            on  September 3,  1993, nearly  three  years after  acquiring

            legal  title,  MEDIC  obtained  physical  possession  of  the

            premises.

                      Previously, Cumberland had  commenced a state court

            action objecting to the amount of MEDIC's original  pro tanto

            offer and  claiming reimbursement for relocation expenses and

            damages.   MEDIC  removed the  action  to the  United  States

            Bankruptcy  Court for  the District  of Massachusetts,  where

            Cumberland's bankruptcy case was pending.

                      The  bankruptcy  court  found that  Cumberland  was

            entitled to recover  from MEDIC $380,000 as  compensation for

            the value  of the property and $36,850  for relocation costs,

            reduced  by $137,250  for the  rental  value of  its use  and

            occupancy  during  Cumberland's  holdover  on  the  premises,

            therefore judgment was issued for the net amount of $279,600.

            The court allowed MEDIC's rent claim, even though the eminent

            domain statute  did not speak  to a taking entity's  right to

            charge  reasonable rent during a wrongful holdover beyond the

            date  when the  taken premises  must be  vacated.   The court

            disallowed   Cumberland's   claim   for   interest   on   the

            compensation payment, because Cumberland  could have accepted

            the pro tanto payment  and obtained use of the funds  at that

            time.  The decision of the bankruptcy court  was subsequently

            affirmed by the United States District Court for the District

            ofMassachusetts, and fromthat affirmance thisappeal followed.



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                      On   this  appeal,   Cumberland  argues   that  the

            bankruptcy court  erred in  awarding MEDIC  fair market  rent

            during  the  holdover  period  during  which  Cumberland  was

            challenging  the  eminent  domain  proceeding,  erred  in the

            amount of relocation damages awarded  to it, and erred by not

            awarding  damages for  the  authority's  alleged  failure  to

            provide timely and  adequate relocation assistance.   We find

            that none of Cumberland's arguments on appeal merit extensive

            consideration.1  We review the bankruptcy court's findings of

            fact for  clear error  and subject its  rulings of law  to de

            novo review.  T I Fed. Credit Union v. Delbonis, 72 F.3d 921,
                          _____________________    ________

            928 (1st Cir. 1995). 

                                      Discussion
                                      __________

                      We begin  with Cumberland's  claim that  it is  not

            liable for the  use and occupancy charges that the bankruptcy

            court awarded to MEDIC, an issue that we review de novo.  The

            applicable  Massachusetts  eminent   domain  statute  allowed

            Cumberland to  remain on  the premises for  a period  of four

            months after it received the notice of taking.  Mass. Gen. L.

            ch. 79,   8B.  Before exercising its possessory rights, MEDIC

            was  required to  give  Cumberland  a  thirty-day  notice  to

                                
            ____________________

            1.  Cumberland's notice of appeal included a complaint  about
            the  court's  failure  to   grant  interest  to  it   on  the
            compensation  awarded for  the  taking.   We deem  this issue
            waived, as  Cumberland has not  referred to it in  its brief.
            See, e.g., Willhauck  v. Halpin, 953 F.2d 689,  700 (1st Cir.
            ___  ____  _________     ______
            1991)  (issues not  fully presented  in  appellate brief  are
            deemed waived).

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            vacate,  sent by registered  mail or posted  on the property.

            Mass. Gen. L. ch. 79,  3.

                      The  bankruptcy  court  found  that MEDIC  provided

            notice of  the taking to  Cumberland on October 9,  1990, and

            provided  thirty-day notice of  eviction on January  8, 1991.

            Thus, MEDIC was  within its rights in requiring Cumberland to

            vacate   the  property  by   February  13,  1991.     MEDIC's

            counterclaim to Cumberland's petition for damages sought rent

            for the  period from February  14, 1991, to August  30, 1993,

            when MEDIC finally obtained possession.

                      Although  the taking  statute  does not  address  a

            holdover  occupant's liability for  the fair rental  value of

            its  use  and  occupancy,  the  Massachusetts  regulation  on

            relocation assistance appears to  contemplate charges for use

            and  occupancy rent following a  taking, because it directs a

            taking authority to inform a property owner of the rent to be

            paid  during any  holdover period.  760  C.M.R.    27.03(13).

            MEDIC, in its  January 8,  1991, notice  to vacate,  informed

            Cumberland  that it would seek fair market rent if Cumberland

            remained in possession.

                      The   bankruptcy  court   ruled  that   Cumberland,

            following its failure to vacate  as directed, became a tenant

            at sufferance,  and as  a result MEDIC  was entitled  to rent

            pursuant  to Mass. Gen. L. ch. 186,    3, which provides that

            tenants at sufferance are liable  for rent during the  period



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            of  continued occupancy after  a demand for  the premises has

            been  made.   It  also  found that  MEDIC's  claim was  fully

            justified  under  a  theory  of  unjust  enrichment,  because

            Cumberland's continued use  of the premises was  profitable. 

            Although we  find no decision  exactly on point,  the Supreme

            Judicial  Court  in  Lowell  Housing  Authority  v.  Save-Mor
                                 __________________________      ________

            Furniture  Stores, Inc., 193 N.E.2d 585, 587 (1963), approved
            _______________________

            a taking authority's claim for use and occupancy charges from

            a tenant who  remained in possession  after a public  housing

            authority  took  the  property  from  the  landlord-owner  by

            eminent  domain.   Cumberland  argues that  as  an owner  its
                                                               _____

            position  is  different from  that  of  a  tenant.   We  find
                                                       ______

            Cumberland's  argument  unconvincing, and  that  Cumberland's

            wrongful holdover does not differ in any relevant regard from

            that of the tenant in Lowell Housing.  See 193 N.E.2d at 587.
                                  ______________   ___

            Because we find that Lowell Housing is  apposite, we conclude
                                 ______________

            that the bankruptcy  court did not err in  awarding MEDIC the

            fair rental value of Cumberland's continued use and occupancy

            of  the premises.   Accordingly, we need  not consider unjust

            enrichment, the second basis for the court's finding.

                      Cumberland next  argues that  the bankruptcy  court

            erred  in failing  to  grant all  of  its claimed  relocation

            expenses, and  again our review  is de  novo.   Specifically,

            Cumberland claims that the court erred in not finding that it

            was  entitled to reimbursement  for the cost  of new gasoline



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            pumping  equipment  for  its new  location,  for  license and

            inspection fees, and for the cost of certain physical changes

            to its new location.

                      We find no error in the bankruptcy court's award of

            relocation  costs under  Mass. Gen.  L. ch.  79A,    7, which

            provides  that a taking  authority must reimburse  a property

            owner for:

                      1. actual documented  reasonable expenses
                      in  moving   himself,  his   family,  his
                      business,   farm   operation,   or  other
                      personal property; 
                      2.  actual  direct   losses  of  tangible
                      personal property as  a result of  moving
                      or  discontinuing  a   business  or  farm
                      operation,  but not  to exceed  an amount
                      equal  to  the reasonable  expenses  that
                      would have been required to relocate such
                      property, as determined by the relocation
                      agency; and
                      3.   actual   reasonable    expenses   in
                      searching for  a replacement  business or
                      farm.

            Although  the bankruptcy court awarded payment for certain of

            Cumberland's claimed relocation expenses as required by Mass.

            Gen. L.  ch. 79A,   7, it denied Cumberland's request for the

            costs  of obtaining  new  gasoline  pumps,  for  license  and

            inspection fees, and for certain  physical changes to its new

            facility.  Cumberland  urges that the  court erred in  ruling

            these expenses were  not recoverable under Mass.  Gen. L. ch.

            79A,    7 and,  in particular, the  implementing regulations,

            760 C.M.R. 27.09(8), 27.09(13), and 27.09(14).  MEDIC's short

            answer is that MEDIC is  a taking authority governed by Mass.



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            Gen. L. ch. 121C, and that the relocation payment regulations

            that  Cumberland relies upon apply to authorities governed by

            Mass. Gen. L. ch. 121A  and 121B, but not to 121C  agencies.2

            See 760 C.M.R.  27.01(4) (listing activities and  entities to
            ___

            which  the relocation payment  regulations apply).   We agree

            with  MEDIC, as  did the  district court,  and  conclude that

            Cumberland is entitled  to reimbursement only as  provided in

            Mass. Gen. L.  ch. 79A,   7, and not under the more expansive

            provisions of 760 C.M.R. 27.09.3

                      Finally,  Cumberland  claims  that  the  bankruptcy

            court erred in ruling that MEDIC had fulfilled its relocation

            assistance obligations to Cumberland.  We review this factual






                                
            ____________________

            2.  The relocation assistance regulations, in contrast to the
                               __________
            relocation  payment regulations,  appear to apply  broadly to
                        _______
            all entities authorized  to take by eminent domain.   See 760
                                                                  ___
            C.M.R. 27.01(4).

            3.  We  note that the  record contains documents  provided by
            MEDIC to Cumberland that seem to promise reimbursement of the
            types  of   expenses  that   the  bankruptcy   court  denied.
            Cumberland's brief, however,  does not contain  any arguments
            based  on estoppel  or  similar  theories.    Therefore  such
            arguments,  whatever their  merit, are  waived.   See,  e.g.,
                                                              ___   ____
            Willhauck, 953 F.2d at 700.  
            _________
                      We  have not considered any of the arguments raised
            by Cumberland  in its  Motion for  Leave to  Present Rebuttal
            Argument Pursuant to Local  Rule 34.1(b).  Cumberland  had an
            opportunity to raise rebuttal arguments in a reply brief, but
            chose  not  to submit  one.    Moreover,  Local Rule  34.1(b)
            pertains  to oral rebuttal during the scheduled argument, and
            does  not  provide  an opportunity  for  further  briefing of
            issues after oral argument. 

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            finding4 for  clear error,  and we find  no error,  let alone

            clear error, in the bankruptcy court's denial of Cumberland's

            claims   for  damages  due  to  MEDIC's  failure  to  provide

            relocation assistance.  

                      Affirmed.  Costs to appellee.
                      Affirmed.
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            ____________________

            4.  Cumberland's  brief could  be read  to  suggest that  the
            bankruptcy   court's  ruling  in  this  regard  was  a  legal
            conclusion concerning an  earlier order of the  Massachusetts
            Superior  Court.    Even though  Cumberland  has  not clearly
            presented that argument,  a de novo review  of the bankruptcy
            court's ruling would yield the same result: no error. 

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